               Case 2:20-cv-00916-TSZ Document 18 Filed 01/11/21 Page 1 of 1



1    Harvey Grad
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2
     323 Queen Anne Ave. N., #102
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3    206.331.3927
     Attorney for Plaintiff
4
                                     UNITED STATES DISTRICT COURT
5                                   WESTERN DISTRICT OF WASHINGTON
6
     DAVID ENGELSTEIN,
                                                                  C20-0916 TSZ
7
                           Plaintiff,
            vs.
8
                                                                   ORDER GRANTING ADDITIONAL TIME
     UNITED STATES DEPARTMENT OF                                   FOR SERVICE OF PROCESS
9
     AGRIGULTURE, et al.,
10
                           Defendants.
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12
            This matter having come on before the Court upon the application of Plaintiff, and unopposed
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     by the Unites States defendants, whose counsel authorizes Plaintiff to so represent to the Court,
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     upon the evidence and law presented thereby, the Court hereby grants Plaintiff an additional 180 days,
15
     from February 8, 2021, and until August 7, 2021, to identify and serve “Doe” Defendants I-X, as set
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     out in the complaint, docket no. 1, and further such additional reasonable time as Plaintiff may need to
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     serve government defendants pursuant to FRCP 4(i)(4).
18
                     IT IS SO ORDERED, this 11th day of January, 2021
19

20                                    A
                                      ____________________________________
                                      Thomas S. Zilly
21                                    United States District Judge
22
     Presented by:
23
     s/Harvey Grad
     Harvey Grad, WSBA 6506
24
     Harvey Grad, PS
     Attorney for Plaintiff
25
     Engelstein v. USDA/USFS et al.                                             Harvey Grad, WSBA 6506
                                                                                    Harvey Grad, PS
     ORDER EXTENDING                                                        323 Queen Anne Ave. N., Ste. 102
     TIME FOR SERVICE -Page 1                                                       Seattle, WA 98109
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